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                                                                                CLERK,U.S. DISTRICT COURT

                      IN THE UNITED STATES DISIRIC1' COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORN
                                                                                     ~Y 2 3 2018
                                WESTERN DIVISION                               CENTRALDIST ! 'T~~ C,F-~~
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IN RE: DMCA SUBPOENA
TO: Global Frag Networks


                         DECLARATION OF B. BRETT HEAVNER


       I,B. Brett Heavner, declare and testify as follows:

       1.      I am a partner at Finnegan, Henderson, Farabow, Garrett & Dunner, LLP and am
admitted to practice law in the District of Columbia. I am authorized to represent the intellectual
property interests of American Petroleum Institute.

       2.     On behalf of American Petroleum Institute, I am seeking a subpoena pursuant to
17 U.S.C. § 512(h) to identify the persons) infringing American Petroleum Institute's
copyrighted works as identified in the attachment to this declaration.

       3.      The purpose for which this subpoena is sought is to obtain the identity of the
alleged infringer, and such information will only be used for the purpose of protecting rights
under 17 U.S.C. § 101 et seq.


        I declare under penalty of perjury under the laws of the United States of America that to
the best of my knowledge the foregoing is true and correct. This declaration is executed on this
17th day of May 2018.




                                                                                      C~/C~
                                                     B. Brett Heavner, DC Bar #t 437337
